     Case: 1:20-cv-03366 Document #: 87 Filed: 12/23/21 Page 1 of 11 PageID #:5901




                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE NORTHERN DISTRICT OF ILLINOIS
                                 (EASTERN DIVISION)

Lisa Calvente                                        )
                Plaintiff,                           )
v.                                                   )
                                                     )      No. 20–cv–3366
Salma Ghanem, and                                    )
DePaul University                                    )
             Defendants.                             )
_________________________________________)

     Memorandum of Law In Support of Lisa Calvente’s Motion For Partial Summary Judgment

         Lisa Calvente (“Dr. Calvente”) submits the following memorandum of law in support of

her motion for partial summary judgment:

                                       Executive Summary

         This is a case about Salma Ghanem’s (“Dr. Ghanem”) retaliatory refusal to grant tenure to

Dr. Calvente despite the fact that the DePaul University Board of Promotion and Tenure’s (the

“UBPT”) recommended that Dr. Calvente receive this status. (SOF ¶¶47–52, 39–42, 53–66.) Why

is the UBPT so important? Because it is an independent, university–wide board that conducts an

independent review of a candidate’s dossier. (SOF ¶¶17–27.) The UBPT speaks for the faculty of

DePaul University (“DePaul” or the “University”) in an area where the faculty has primary govern-

ance responsibility at DePaul: the award of tenure. (SOF ¶19.) Accordingly, the UBPT acts as a

cooling saucer and permits the review of a candidate’s file (i) by members of the University as a

whole, and (ii) in a manner that is untainted by any passions that may exist within a candidate’s

particular unit. (See SOF ¶24–27.)

         Although DePaul permits the provost to have the final word as to who should receive ten-

ure, the rules are clear that the provost should reject the UBPT’s recommendation only in rare in-
   Case: 1:20-cv-03366 Document #: 87 Filed: 12/23/21 Page 2 of 11 PageID #:5902




stances and for compelling reasons. (SOF ¶¶25–26.) What does this mean? It means that the

provost may not simply reject the UBPT’s recommendation because she disagrees with it. (SOF

¶26.) Rather, to reject the recommendation of the UBPT—which represents the voice of the facul-

ty—the Provost should find that the UBPT’s recommendation was groundless. (SOF ¶26.) In other

words, to reject the UBPT, the provost must find that (i) doubt existed where the Board found

none, or (ii) where the Board expressed its doubt, the provost found that the Board’s reasons for

doubt were completely unfounded. (SOF ¶26.) Thus, the standard for a provost to reject a UBPT’s

recommendation is akin to abuse of discretion. See Nestorovic v. Metro. Water Reclamation Dist. of

Greater Chi., 926 F.3d 427, 431–32 (7th Cir. 2019) (“A court abuses its discretion when the record

contains no evidence on which it could have rationally based its decision or when the decision

rests on an erroneous view of the law”).

       Why does Dr. Calvente believe she was the victim of retaliation at the hands of Dr.

Ghanem? Because (among other oppositional activity) the very year she went up for tenure, Dr.

Calvente told Dr. Ghanem that she had accused her (then the dean of her academic unit) of play-

ing racial politics in connection with another professor’s career, and she made this accusation in

writing. (SOF ¶¶39–44.) Dr. Calvente and Dr. Ghanem never had another conversation after Dr.

Calvente advised Dr. Ghanem of what she had written. (SOF ¶44.) However, shortly afterwards,

Dr. Ghanem became the interim provost of DePaul. (SOF ¶10.) She then rejected the UBPT’s

recommendation and denied Dr. Calvente’s application for tenure. (SOF ¶51.)

       Dr. Ghanem’s rejection of the UBPT’s recommendation was bad enough. However, the

very next cycle, Dr. Ghanem granted tenure to two other professors who the UBPT recommended

not to receive tenure by a vote of 6–1. (SOF ¶¶55, 58–61, 63–65.) These professors had no record




                                                2
   Case: 1:20-cv-03366 Document #: 87 Filed: 12/23/21 Page 3 of 11 PageID #:5903




of complaining about discrimination, let alone accusing Dr. Ghanem of playing racial politics with

another professor’s career. (SOF ¶ 53, 62.) Moreover, the standard that a professor has to meet to

earn tenure is the same across the university: before granting tenure, the University must have “no

reasonable doubt about the faculty member’s demonstrated qualifications and continued capacity

to contribute to DePaul’s distinctive goals and academic mission.” (SOF ¶¶27, 60, 64.)

        So why reject Dr. Calvente’s application when Dr. Calvente had the support of the UBPT

and accept the applications of these two other professors who did not have the support of the

UBPT by such a large margin? Neither DePaul nor Dr. Ghanem have ever provided a legitimate

answer to this question. (SOF ¶60.) Accordingly, on the record developed during discovery, a jury

could come to one conclusion with respect to what occurred in connection with the denial of Dr.

Calvente’s application for tenure—Dr. Ghanem violated the civil rights laws.

                                                 Facts

        Dr. Calvente incorporates her contemporaneously filed Statement of Material Facts Pursu-

ant To Local Rule 56.1(a)(2) as if set forth fully herein.

                                         Standard of Review

        Summary judgment is appropriate if there are no genuine issues of material fact and the

movant is entitled to judgment as a matter of law. See Fed. R. Civ. P. 56. A motion for “summary

judgment is the ‘put up or shut up’ moment in a lawsuit” when the nonmoving party must show

its evidence and demonstrate that there is a dispute that can only be resolved at trial. Johnson v.

Cambridge Indus., Inc., 325 F.3d 892, 901 (7th Cir. 2003). Summary judgment is appropriate in cas-

es, such as this one, “[w]here the record taken as a whole could not lead a rational trier of fact to

find for the nonmoving party [and, therefore,] there is no ‘genuine issue for trial.’” Scott v. Harris,




                                                   3
   Case: 1:20-cv-03366 Document #: 87 Filed: 12/23/21 Page 4 of 11 PageID #:5904




550 U.S. 372, 380 (2007) citing Matsushita Elec. Industrial Co. v. Zenith Radio Corp., 475 U. S. 574,

586–87 (1986).

                                               Argument

        The civil rights laws apply to employment in the academy on the same terms that they ap-

ply to employment in any other sector of the economy. Mawakana v. Bd. of Trs. of Univ. of D.C.,

926 F.3d 859, 864–65 (D.C. Cir. 2019) (university not entitled to special deference where in a case

where the fundamental question is whether it acted in good faith); Haynes v. Indiana Univ., 902

F.3d 724, 733 (7th Cir. 2018) (question in tenure denial case is whether plaintiff can demonstrate

her race caused adverse action) citing Ortiz v. Werner Enters. , Inc., 834 F.3d at 765. See also Blasdel v.

Nw. Univ., 687 F.3d 813, 817 (7th Cir. 2012) (evidence of animus by decision maker sufficient to

state a claim).

        In the typical denial–of–tenure case, it can be difficult to prove a violation of the civil

rights laws because tenure decisions often involve several independent layers of review and the

tenure decision is often made by committee. Cf. Haynes, 834 F.3d at 734. In this case, however,

DePaul vests one person with ultimate power as to who receives tenure—the provost, Dr. Ghanem.

Thus, this is not a case where Dr. Calvente is focused merely on “allegations of chicanery during

the University’s review of [her] tenure application” (although the record reveals that chicanery oc-

curred). Cf. Haynes 834 F.3d at 734. Rather, Dr. Calvente’s case focuses on Dr. Ghanem’s reasons

for overruling the UBPT, a University–committee that speaks for the faculty and whose judgment

should only be rejected in rare instances and for compelling reasons. In other words, given the

manner in which DePaul structures its tenure process, and given Dr. Ghanem’s outsized role in it,

this is a garden–variety retaliation case.




                                                    4
   Case: 1:20-cv-03366 Document #: 87 Filed: 12/23/21 Page 5 of 11 PageID #:5905




        A plaintiff–employee may prove retaliation by showing (1) she engaged in protected activi-

ty, (2) a materially adverse action taken by her employer, and (3) a causal connection between the

two. Humphries v. COBCS West, Inc., 474 F. 3d 387, 404 (7th Cir. 2007). A plaintiff–employee may

demonstrate a causal connection between her protected activity and the adverse employment ac-

tion solely through circumstantial evidence. An employee may demonstrate a causal connection

between her protected activity and the adverse employment action solely through circumstantial

evidence. Coleman v. Donahue, 667 F.3d 835, 859 (7th Cir. 2012) (reversing motion for summary

judgment). See also Joll v. Valparasio Community Schools, 953 F.3d. 923, 929–30 (7th Cir. 2020)

(“[e]mployers long ago taught their supervisory employees not to put discriminatory beliefs or atti-

tudes into words oral or written”); Ortiz, 834 F.3d at 765 (recognizing that few people admit firing

someone in violation of the civil rights laws).

        Circumstantial evidence sufficient to prove a causal connection can include (i) disparate

treatment of similarly situated employees, (ii) an employer’s failure to follow its own policies and

procedures, including a marked deviation from standard practice, and (iii) explanations for con-

duct that are so suspicious that they give rise to an inference of discrimination or retaliation. Cole-

man, 667 F.3d at 858, 860 (selective enforcement of company policy can establish pretext); Hitch-

cock v. Angel Corps, Inc., 718 F.3d 733, 738 (7th Cir. 2013) (reversing summary judgment as jury

could “find the explanation [for the termination] to be so ludicrous that [the employer] is not to be

believed”); Rudin v. Lincoln Land Cmty. Coll., 420 F.3d 712, 727 (7th Cir. 2005) (reversing order

granting summary judgment and explaining that “an employer's failure to follow its own internal

employment procedures can constitute evidence of pretext”); Joll v. Valparasio Community Schools,

953 F.3d. 923, 931 (7th Cir. 2020) (reversing summary judgment, explaining that deviation from




                                                  5
     Case: 1:20-cv-03366 Document #: 87 Filed: 12/23/21 Page 6 of 11 PageID #:5906




standard practices can establish pretext) (collecting cases); Hobgood v. Illinois Gaming Bd., 731 F.3d

635, 645 (7th Cir. 2013) (reversing motion for summary judgment, explaining that departure from

established policy can establish pretext).

A.      Dr. Calvente suffered an adverse job action.

        There is no legitimate dispute that Dr. Ghanem’s and DePaul’s decision to deny Dr. Cal-

vente’s application for tenure and to offer her a terminal contract is an adverse employment ac-

tion. E.g. Burlington Indus. v. Ellerth, 524 U.S. 742, 761 (1998) (civil rights laws cover adverse ac-

tions including termination of employment and the failure to promote). Thus, Dr. Calvente has

proven the first element of her retaliation claim.

B.      Dr. Calvente engaged in protected activity.

        There is also no legitimate dispute that Dr. Calvente engaged in protected activity by both

(i) advocating for Dr.              by stating that Dr. Ghanem did not renew his contract for rea-

sons of racial politics (SOF ¶41), (ii) complaining about discrimination in the College (SOF ¶¶28–

29, 31, 35, 38, 40, 52), and (iii) continuing to complain about discrimination in the College after

Dr. Ghanem told her not to (SOF ¶40). See 42 U.S.C. §2000e–3 (it is “an unlawful employment

practice for an employer to discriminate against any of [its] employees . . . because [s]he has op-

posed any practice made an unlawful employment practice by this subchapter . . . .”); Humphries,

474 F. 3d at 403 (“a plaintiff may maintain a cause of action under section 1981, where the plain-

tiff has suffered retaliation for advocating the rights of those protected under section 1981”); Dey v.

Colt Const. & Dev. Co., 28 F.3d 1446, 1458 (7th Cir. 1994) (protected activity includes complaining

about harassment).

        Dr. Calvente’s record of oppositional activity is so strong that the defendants have never at-

tempted to contest it. Indeed, they conceded this issue in their own motion for summary judg-


                                                     6
     Case: 1:20-cv-03366 Document #: 87 Filed: 12/23/21 Page 7 of 11 PageID #:5907




ment. (See Docket No. 46 at page 24 (“There is no dispute that [Dr. Calvente] engaged in protected

activity, but she cannot causally connect those complaints to her tenure denial because she cannot

show that her complaints were the ‘but for’ cause of the decision”).) Thus, Dr. Calvente has prov-

en the second element of her retaliation claim.

C.      The record evidence demonstrates a causal connection between both Dr. Calvente’s ad-
        vocacy for Dr.          and her continued complaints about discrimination on the
        one hand and Dr. Ghanem’s decision to deny her application for tenure on the other
        hand.

        Dr.         and Dr. Calvente were required to meet the same standard for obtaining ten-

ure—before granting tenure, the University must have “no reasonable doubt about the faculty

member’s demonstrated qualifications and continued capacity to contribute to DePaul’s distinctive

goals and academic mission.” (SOF ¶27.) Thus, Dr.              and Dr. Calvente are similarly situated

for purposes of the civil rights laws, and Dr. Calvente may prove her case by demonstrating Dr.

Ghanem treated her and Dr.            differently for no legitimate reason. See Coleman, 667 F.3d at

841 (the critical issue in determining whether employees are similarly situated is whether they were

subject to the same employment policies). Dr.              file, however, was objectively worse than

Dr. Calvente’s file in that the UBPT thoroughly rejected his file while the UBPT recommended

Dr. Calvente receive tenure.

        Given that Dr.           file was objectively worse than Dr. Calvente’s, what accounts for

the difference in Dr. Ghanem’s treatment of them? Dr. Ghanem claims only that there were pro-

cedural issues with Dr.           file in that Dr.        was recommended for renewal by his col-

leagues in the College of Arts and Sciences a short time before he went up for tenure. (SOF ¶¶59–

60.) This argument is problematic for at least four reasons:




                                                     7
    Case: 1:20-cv-03366 Document #: 87 Filed: 12/23/21 Page 8 of 11 PageID #:5908




        First, even though Dr.             was recommended for renewal by his colleagues in his aca-

demic unit, the UBPT never evaluated his application until he applied for tenure. (SOF ¶61.) And

as Dr. Ghanem concedes, it is the UBPT’s recommendation that matters, not whatever occurred

down below. (SOF ¶23.) Therefore, in the context of this case, the suggestion that Dr.                     did

not receive a fair hearing is a red–herring.1

        Second, the Handbook does not allow Dr. Ghanem to reject the UBPT’s recommendation

for alleged procedural violations. (SOF ¶¶ 26, 70.) Rather, that power belongs solely to the Uni-

versity President. (SOF ¶70.) Thus, by usurping the President’s power, Dr. Ghanem violated De-

Paul’s rules, which is another hallmark of pretext. Joll, 953 F.3d. at 931.

        Third, Dr. Ghanem did not state that she tenured Dr.                   because of alleged procedur-

al violations. (SOF ¶59.) She said that she tenured him due to his alleged “achievements in schol-

arship, teaching, and service, and in expectation of [his] continued service to [DePaul’s] students,

the university, and [his] field.” (SOF ¶59.) Dr. Ghanem’s inconsistent explanation for her behavior

also demonstrates that the reasons she articulated (for the first time) in her deposition for granting

tenure to Dr.            were pretextual. Id. at 942 (“One can reasonably infer pretext from an em-

ployer’s shifting or inconsistent explanations for the challenged employment decision”) quoting Ap-

pelbaum v. Milwaukee Metro. Sewerage Dist., 340 F.3d 573, 579 (7th Cir. 2003) (collecting cases).

        Fourth—and most importantly—the standard for tenure is the same no matter the faculty

member’s local academic unit. (SOF ¶27.) Before granting tenure, DePaul must have “no reasona-

1
         It is anticipated that the defendants will argue that Dr. Calvente, too, complained about the pro-
cess she received in her local unit. Therefore, it is anticipated that the defendants will attempt to paint Dr.
Calvente as a hypocrite. The difference between Dr. Calvente and Dr.              however, continues to be the
fair and independent hearing that Dr. Calvente (finally) received before the UBPT. When the UBPT con-
ducted an independent evaluation of Dr. Calvente’s file, it found her to be worthy. When the UBPT con-
ducted an independent evaluation of Dr.             file, it found him to be unworthy. Thus, this case is about
Dr. Ghanem’s disparate treatment as opposed to what an appeals committee subsequently found.


                                                      8
    Case: 1:20-cv-03366 Document #: 87 Filed: 12/23/21 Page 9 of 11 PageID #:5909




ble doubt about the faculty member’s demonstrated qualifications and continued capacity to con-

tribute to DePaul’s distinctive goals and academic mission.” (SOF ¶27.) On the record assembled

during the tenure process with respect to Dr.           including a lopsided vote by the UBPT, how

can anyone claim that there was no reasonable doubt about Dr.                 demonstrated qualifica-

tions?2

          Having already had an opportunity to articulate a legitimate and non–pretextual reason for

treating Drs.          and Calvente differently (see Docket No. 46), Dr. Ghanem has failed do so.

Nor will she be able to offer a legitimate and non–pretextual reason for her conduct when she re-

sponds to this instant brief. Thus, the only explanation for the disparate treatment is the ugly

one—Dr. Ghanem retaliates against those who (i) continue to complain about racism after she told

them to stop, and (ii) accuse her of playing racial politics. On the record developed during discov-

ery, there is simply no other reason for Dr. Ghanem (i) granting tenure to two candidates who were

rejected by the UBPT by the extreme margin of 6–1 when the standard for tenure requires the

University to have no reasonable doubt as to the candidate’s qualifications, while at the same time

(ii) refusing to grant tenure to Dr. Calvente when the UBPT actually recommended she receive

tenure.3 Thus, the only issue left to try on counts I and II of Dr. Calvente’s complaint are her

damages.




2
        And while the parties did not explore Dr.       qualifications during discovery, Dr. Ghanem has
not attempted to explain why she overturned an equally lopsided UBPT recommendation concerning this
candidate.
3
         In the event that the Court denies Dr. Calvente’s motion for partial summary judgment, she re-
serves the right to present her claim of discrimination to the jury.


                                                  9
  Case: 1:20-cv-03366 Document #: 87 Filed: 12/23/21 Page 10 of 11 PageID #:5910




                                              Conclusion

           It is unusual for a plaintiff in a retaliation case to file a motion for summary judgment;

however, the rules of procedure apply equally to a defendant–employer as they do to a plaintiff–

employee. Thus, given Dr. Calvente’s affirmative motion under Rule 56 of the Federal Rules of

Civil Procedure, Dr. Ghanem has an obligation to point to something in the record from which a

jury could find that she had legitimate reason for denying Dr. Calvente’s application for tenure.

Dr. Ghanem has failed to meet this minimal burden.

           Dr. Calvente hurt Dr. Ghanem. So like Captain Ahab when confronted with the white

whale who hurt him, Dr. Ghanem vented her rage upon her former colleague by rejecting her ap-

plication for tenure. But vengeance of this type is illegal under the civil rights laws. Having had the

opportunity to explain herself and her actions, Dr. Ghanem either could not or would not. Thus,

there is no need for a trial on the question of liability for Dr. Ghanem’s (and, by extension, De-

Paul’s) retaliation. What is left to decide—at least with respect to retaliation—are the damages that

Dr. Calvente suffered, including the wages she lost, the anger and humiliation she suffered, and

the punitive damages that Dr. Ghanem ought to pay for her malicious assault on Dr. Calvente’s

dignity.

Respectfully submitted,                                 /s/ Fitzgerald T. Bramwell
December 23, 2021                                       Fitzgerald T. Bramwell
                                                        LAW OFFICES OF FITZGERALD BRAMWELL
                                                        77 West Wacker, Suite 4500
                                                        Chicago, Illinois 60601
                                                        312–924–2884 (voice)
                                                        bramwell@fitzgeraldbramwell.com




                                                   10
  Case: 1:20-cv-03366 Document #: 87 Filed: 12/23/21 Page 11 of 11 PageID #:5911




                                     Certificate of Service

       The undersigned, an attorney, certifies that on December 23, 2021, he caused the forego-

ing Memorandum of Law In Support of Lisa Calvente’s Motion For Partial Summary Judgment to

be electronically filed with the Clerk of the Court for the United States District Court for the

Northern District of Illinois by using the CM/ECF system. Accordingly, service will be accom-

plished through CM/ECF on the following counsel of record:

Anneliese Wermuth, Esq.
Cozen O’Connor, P.C.
123 North Wacker Drive, Suite 1800
Chicago, Illinois 60606
awermuth@cozen.com
Counsel for Defendants




                                             /s/ Fitzgerald T. Bramwell
                                             Fitzgerald T. Bramwell
                                             LAW OFFICES OF FITZGERALD BRAMWELL
                                             77 West Wacker, Suite 4500
                                             Chicago, Illinois 60601
                                             312–924–2884 (voice)
                                             bramwell@fitzgeraldbramwell.com
